 Case 1:09-cr-00414-RDA Document 93 Filed 11/19/10 Page 1 of 6 PageID# 292




             IN THE UNITED STATES DISTRICT COURT FOR THE
                    EASTERN DISTRICT OF VIRGINIA

                          Alexandria Division


United States of America          )
                                  )
           v.                     )
                                  )       1:09cr414 (JCC)
Marvin Wayne Williams, Jr.,       )
et al.,                           )
                                  )
           Defendants.            )


                M E M O R A N D U M        O P I N I O N


           This matter is before the Court on Defendants’ Motion

to Dismiss or for Sanctions (“Mot.”) [Dkt. 87] and Defendants’

Supplemental Motion to Dismiss or for Sanctions [Dkt. 89].

Defendants seek these remedies in response to several alleged

incidents of the Government “discovering” and turning over

exculpatory evidence after first denying its existence.           For the

following reasons, the Court will deny Defendants’ Motion.

                               I. Analysis

           Federal Rule of Criminal Procedure 16(d)(2) authorizes

the Court to impose sanctions for failure to comply with a

discovery order.    Specifically, where a party fails to comply,

the Court may (1) order that party to permit discovery or

inspection of the requisite item with a time, place, and manner



                                      1
 Case 1:09-cr-00414-RDA Document 93 Filed 11/19/10 Page 2 of 6 PageID# 293



for doing so; (2) grant a continuance; (3) prohibit the party

from introducing the undisclosed evidence; or (4) enter any

other order that is just under the circumstances.          Fed. R. Crim.

P. 16(d)(2).   “The decision to impose sanctions under Rule

16(d)(2) is left to the sound discretion of the trial court.”

United States v. Glover, 846 F.2d 339, 342 (6th Cir. 1988).

            In considering whether to apply sanctions for

discovery violations, the Court “must weigh the reasons for the

government's delay and whether it acted intentionally or in bad

faith; the degree of prejudice, if any, suffered by the

defendant; and whether any less severe sanction will remedy the

prejudice and the wrongdoing of the government.”          United States

v. Hammoud, 381 F.3d 316, 336 (4th Cir. 2004) (quotation marks

omitted).   Dismissal of an indictment is an “extreme” measure

because “[w]hen a Court sanctions the government in a criminal

case for its failure to obey court orders, it must use the least

severe sanction which will adequately punish the government and

secure future compliance.”      United States v. Hastings, 126 F.3d

310, 317 (4th Cir. 1997).

            Defendants here argue that sanctions are warranted by

the Government’s continued production of materials whose

existence it previously denied.       (Mot. ¶ 1.)    According to




                                    2
    Case 1:09-cr-00414-RDA Document 93 Filed 11/19/10 Page 3 of 6 PageID# 294



Defendants, in early August,1 the Government represented that all

materials responsive to Defendants’ discovery requests were in

their possession.       (Mot. ¶ 2.)    Yet since then, the Government’s

attorneys received and turned over to Defendants a series of

additional materials from the Manassas City Police Department

(“City”).      These include 850 pages of discovery (turned over

September 10, 2010), an audio recording of a City interview with

Bradley Tibbs where he identifies three persons other than the

codefendants as Kyle Turner’s killers (turned over October 15,

2010), an audio recording of another interview with Annette

Sprow, a key Government witness (turned over November 8, 2010).

(Mot. ¶¶ 2, 3, 4.)       Defendants also voice skepticism over the

Government’s failure to turn over “any written reports or notes

memorializing any aspect of the City’s investigation into the

murder of Kyle Turner.”        (Mot. ¶ 5.)

              There is no question that, for the purposes of the

Government’s discovery obligations, “the Government” extends

beyond the Assistant United States Attorneys prosecuting this

case, to “all members of the prosecution’s team.”              United

States v. Munson, No. 03-1153, 2004 WL 1672880, at *2 (N.D. Ill.

Aug. 5, 2004); see also Kyles v. Whitley, 514 U.S. 419, 437

(1995) (“[T]he individual prosecutor has a duty to learn of any

1
  Defendants’ Motion appears to contain a typographical error in this
paragraph making it difficult to identify the precise date on which they
claim the Government made its representation and what exactly that
representation was.


                                       3
    Case 1:09-cr-00414-RDA Document 93 Filed 11/19/10 Page 4 of 6 PageID# 295



favorable evidence known to the others acting on the

government’s behalf in the case, including the police.”).

Whether a prosecutor succeeds or fails in this obligation

depends on whether his failure to disclose is in good or bad

faith.     Kyles, 514 U.S. at 437 (citing Brady v. Maryland, 373

U.S. 83, 87 (1963)).

              Here, although the City’s adherence to its discovery

obligations is questionable, there is no evidence of

prosecutorial bad faith or even an allegation that Defendants

were prejudiced by the “late” disclosures.            Indeed, it should be

noted from the outset that the Government has not actually

violated the Court’s Discovery Order (“Order”) in this case.

[See Dkt. 35.]       That Order says, in relevant part, that “if,

prior to or during trial,2 a party discovers additional evidence

or material which is subject to discovery or inspection under

the ORDER, that party shall promptly notify the other party or

his attorney or the Court of the existence of the additional

evidence or material.”        (Order at 3.)     It states that “the

Government shall comply with its obligations to produce any

known exculpatory material as required by Brady.”             (Order at 4.)

And it states that “by 5 p.m. one calendar week prior to trial,


2
  The Court emphasizes this language in response to Defendants’ request that
the Court preclude the Government from calling witnesses “for whom notes,
reports, etc. of interviews and/or interrogations have not been provided to
the defense.” (Mot. at 6.) The Court declines to impose such a blanket rule
and will evaluate such a situation when and if it arises.


                                       4
    Case 1:09-cr-00414-RDA Document 93 Filed 11/19/10 Page 5 of 6 PageID# 296



the Government shall produce to the defendant the Jenks Act and

Giglio materials for the witnesses who will testify in the

Government’s case in chief.”         Id.

              Here, upon becoming aware of additional materials

requiring disclosure, the prosecution has disclosed those

materials to Defendants.        There is therefore no evidence of bad

faith or violation of the Order to warrant sanctions.

              As for Brady materials, to the extent the withheld

materials fall into that category, “there is not a hard and fast

deadline” for their disclosure, rather, “as long as Brady

material is disclosed . . . in time for its effective use at

trial,” “[n]o due process violation occurs.”            United States v.

Lowery, 284 F. App’x 64, 69 (4th Cir. 2008).            Indeed, “the time

necessary for effective use at trial may even include disclosure

at trial itself.”       Id. (emphasis added).      And here, the

materials turned over thus far, while coming after the

Government’s assurances that they did not exist, were not turned

over so late as to preclude their effective use at trial,

meaning that Defendants have not been prejudiced.3

              Finally, with respect to the Government’s Jencks and

Giglio obligations, the Government’s current deadline for


3
  In terms of prejudice, the Court must note here that it is underwhelmed by
Defendants’ efforts at interviewing the relevant Government witnesses. Where
a defendant could have obtained information sought through reasonable
diligence, the prosecution's failure to disclose does not violate due
process. See Hoke v. Netherland, 92 F.3d 1350, 1356 (4th Cir. 1996)


                                       5
 Case 1:09-cr-00414-RDA Document 93 Filed 11/19/10 Page 6 of 6 PageID# 297



turnover of those materials is November 24, 2010, several days

from the date of this opinion.      The Government is therefore not

in violation of those obligations.

                            IV.   Conclusion

           For these reasons, the Court will deny Defendants’

Motion.



                                               /s/
November 19, 2010                       James C. Cacheris
Alexandria, Virginia          UNITED STATES DISTRICT COURT JUDGE




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